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 4
     Attorney for Defendant
 5   SABRINA BUCHER
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                        IN THE UNITED STATES DISTRICT COURT FOR THE
 8
                                  EASTERN DISTRICT OF CALIFORNIA
 9
10
11 UNITED STATES OF AMERICA,
                                                         Case No. 08-CR-00554 WBS
12                  Plaintiff,

13 v.
                                                         MOTION TO VACATE BRIEFING
14                                                       SCHEDULE AND SET STATUS
     SABRINA BUCHER, et al.                              CONFERENCE IN LIEU OF HEARING;
15                                                       STIPULATION AND [PROPOSED] ORDER
                    Defendants.
16
17
18
19                                               STIPULATION
20          Plaintiff, United States of America, by and through its counsel, Assistant United States
21   Attorney William S. Wong and defendant, Sabrina Bucher, by and through her counsel, Erin J.
22   Radekin, agree and stipulate to vacate the briefing schedule currently set pertaining to the motion to
23   dismiss without prejudice to defendant’s resetting such briefing schedule to litigate such motion to
24   dismiss in the future should the case not settle.
25          The parties further agree and stipulate that the date currently set for hearing on the motion to
26   dismiss, March 22, 2010 at 8:30 a.m. in the courtroom of the Honorable William B. Shubb, can
27   remain on calendar as a status conference.
28          The reason for this request is that the parties contemplate that the matter will resolve. The
     Court is advised that should the case not resolve, the government has no opposition to defendant
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 1   resetting a briefing schedule for purposes of litigating said motion to dismiss. The Court is further
 2   advised that Mr. Wong concurs with this request and has authorized Ms. Radekin to sign this
 3   stipulation on his behalf.
 4            The parties further agree and stipulate that the time period from the filing of this stipulation
 5   until March 22, 2010 should be excluded in computing time for commencement of trial under the
 6   Speedy Trial Act, based upon the interest of justice under 18 U.S.C. §§ 3161(h)(1)(D) and
 7   (h)(7)(B)(iv), and to allow continuity of counsel and to allow reasonable time necessary for effective
 8   defense preparation under Local Code T4. It is further agreed and stipulated that the ends of justice
 9   served in granting the request outweigh the best interests of the public and the defendant in a speedy
10   trial.
11            Accordingly, the parties respectfully request the Court adopt this proposed stipulation.
12   IT IS SO STIPULATED
13
     Dated: February 24, 2010                                  BENJAMIN WAGNER
14                                                             United States Attorney
15                                                      By:          /s/ William S. Wong
                                                               WILLIAM S. WONG
16                                                             Assistant United States Attorney
17
18   Dated: February 24, 2010                                        /s/ Erin J. Radekin
                                                               ERIN J. RADEKIN
19                                                             Attorney for Defendant
                                                               SABRINA BUCHER
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21
                                                      ORDER
22
              For the reasons set forth in the accompanying stipulation and declaration of counsel, the
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     briefing schedule pertaining to the motion to dismiss is VACATED without prejudice to defendant
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     resetting a briefing schedule in the future for purposes of litigating said motion to dismiss, and the
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     hearing on such motion, March 22, 2010 at 8:30 a.m., is deemed a status conference. The court
26
     finds excludable time in this matter from the filing of this stipulation through March 22, 2010 under
27
     18 U.S.C. §§ 3161(h)(1)(D), (h)(7)(B)(iv) and Local Code T4, to allow continuity of counsel and to
28
     allow reasonable time necessary for effective defense preparation. For the reasons stipulated by the

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 1   parties, the Court finds that the interest of justice served by granting the request outweigh the best
 2   interests of the public and the defendant in a speedy trial. 18 U.S.C. 3161(h)(1)(D), (h)(7)(B)(iv).
 3   IT IS SO ORDERED.
 4   Dated: February 24, 2010
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